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CORPORATE GUARANTEE BY CAMAC ENERGY lNC. MADE lN FAVOUR OF ZEN|TH
BANK PLC

TH|S GUARANTEE is given the 11th day of September 2014 by CAMAC ENERGY |NC. , a
company incorporated under the laws of De|aware, USA and having its principal offices at 1330
Post Oak Bou|evard, Suite 2250, Houston, Texas, USA (hereinafter referred to as "the
Guarantor" which expression shall, wherever the context so admits, include its successors in
title and assigns), to ZEN|TH BANK PLC a bank incorporated under the laws of the Federa|
Repub|ic of Nigeria and having its registered office at P|ot 84, Ajose Adeogun Street, Victoria
ls|and, Lagos (hereinafter referred to as "the Bank", which expression shall wherever the
context so admits, include its successors in title and assigns).

WHEREAS the Bank has agreed to grant to CAMAC PETROLEUM L|M|TED (hereinafter
referred to as "the Borrower" which expression shall wherever the context so admits, include its
successors in title and assigns) a Term Loan Faci|ity in the principal sum of One Hundred
Mil|ion United States Do||ars ($100,000,000.00) subject to the Guarantor giving to the Bank in
writing a Guarantee as hereinafter appearing

NOW THEREFORE TH|S GUARANTEE W|TNESSETH as follows:
1. Continuing Guarantee and Obligations covered:

1.1. The Guarantor hereby absolutely and unconditionally guarantees, on a
continuing basis for as long as the Borrower’s obligation to the Bank shall remain
undischarged to the Bank the prompt payment to it (whether at maturity, by
acceleration or othen/vise) and at all times thereafter, of any and all of the
Borrower’s liabilities and obligations which now or may hereafter from time to
time become owing to the Bank by the Borrower either solely or jointly with any
others in respect of loan/banking facility granted to the Borrower by the Bank
pursuant to the Term Loan Faci|ity Agreement between Zenith Bank (as the
Lender) and Camac Petroleum Limited (as the Borrower) dated September 5,
2014 up to but not exceeding the principal sum of One Hundred Mi||ion United
States Do||ars ($100,000,000.00) together with all interest, commissions,
discounts and other bankers' charges, including legal charges occasioned by or
incidental to this or any other security for the afore- mentioned liabilities and
obligations or the enforcement of this or any such other security, the interest
aforesaid being payable as well after as before any judgment and all such
liabilities and obligations of the Borrower to the Bank now or hereafter existing
being hereinafter referred to as "the obligations", provided that the Guarantor’s
obligations hereunder shall reduce in proportion with and as Borrower’s
obligations under the Term Loan Agreement dated September 5, 2014 between
the Borrower and the Bank.

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2. Extensions of Ob|igations and Primary Liability:

2.1. The obligations shall include all renewals, extensions and modifications of any
indebtedness or liability of the Borrower in respect of the obligations The
Guarantor agrees that its liability hereunder shall be that of one primarily liable on
the obligations and not merely that of surety.

3. Waivers by the Guarantor:

3.1. The Guarantor hereby waives notice of acceptance of this continuing Guarantee,
notice of any and all of the obligations and notice upon the making or granting by
the Bank at any time of any and all renewals, extensions or modification of any of
the obligations. The Guarantor also waives notice of any default by the Borrower
in payment of, or performance under, any of the obligations as well as
presentment, protest, notice of dishonour, and demand for payment of any of the
obligations ln addition, the Guarantor waives any right to compel the Bank to
sue upon, enforce payment for, or take action on default in respect of, any or all
of the obligations

4. Banks lndulgencies, Forbearances and Consent to Borrower's Action or
Omission, App|ication of Borrower's Payments:

4.1. The Guarantor hereby agrees that the Bank may, from time to time, and without
notice to the Guarantor, grant indulgences or forbearances to the Borrower
whichl in the absence of its consent, constitutes a breach or may be deemed to
constitute a breach of the agreement of the Borrower respecting any or all of the
obligations Similarly from time to time, without notice to or consent of the
undersigned, the Bank may give its consent to any action or omission of the
Borrower which, in the absence of such consent, constitutes a breach or may be
deemed to constitute a breach of the agreements of the Borrower with respect to
any or all of the obligations The Bank may grant any and all renewals,
extensions modifications indulgences, forbearances or consents with or without
consideration, and on such terms and conditions as may be acceptable to it,
without in any manner affecting or impairing the liability of the Guarantor
hereunder.

4.2. The Guarantor further agrees that the Bank is hereby irrevocably authorised and
empowered to apply to the satisfaction of the obligations as it may see fit,
payment or payments made to it by the Borrower.

5. Other Security:

5.1. From time to time, upon the occurrence of an event of default under the Term
Loan Agreement dated September 5, 2014 between the Borrower and the
Lender, that is continuing the Bank may take any or all of the following actions
without notice to, or consent of the Guarantor:

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5.1.1. retain or obtain a security they hold securing any of the obligations or

securing any obligation under this continuing Guarantee;

5.1.2. subordinate, compromise or release any security they hold securing any
of the obligations or securing any obligation under this continuing

Guarantee or permit substitution or exchange for such security;

5.1.3. retain or obtain the primary or secondary liability of any other party or

parties with respect to any of the obligations

5.1.4. subordinate, waive, compromise or release any liability of any nature of
any other party or parties with respect to the obligations or any security
for such obligations on such terms and conditions as may be deemed

acceptable to the Bank;

5.1.5. resort to the Guarantor for payment of any of the obligations whether or
not the Bank shall have resorted to any property securing any of the
obligations or any obligation under this continuing Guarantee and whether
or not the Bank shall have proceeded against any other party primarily or

secondarily liable on the obligations

5.1.6. debit the Guarantor’s account and/or appropriate sums therein to cover or

meet the extent of any loss or liability arising from this Guarantee; or

5.1.7. debit any of the Guarantor’s account in its name or any subsidiary or
sister company with any sums payable hereunder without prior reference
to the Guarantor, set off the Guarantor’s liability or any amounts due by
the Guarantor hereunder against any money standing to the Guarantor’s
account or accounts referred to in these presents and retain as security
for amounts due any shares stock or other security or interest in

securities held by the bank for safe keeping or othen/vise.

5.2. No collateral or other security which may now or hereafter be held by the Bank
for all or any part of the moneys or liabilities hereby guaranteed nor the liability to
which the Bank may otherwise be entitled nor the liability of any person or
persons not parties hereto for all or any part of the moneys or liabilities hereby

secured shall be in any way prejudiced or affected by this Guarantee.

5.3. The liability of the Guarantor hereunder shall not be affected by any failure by the
Bank to take any security or by any invalidity of any security taken or by any
existing or future agreement by the Bank as to the application of any advances

made or to be made to the Borrower.

5.4. This Guarantee shall be in addition to any other guarantee or other security for
the Borrower which the Bank may now or hereafter hold whether from the

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Guarantor hereunder or otherwise and on discharge by payment or othen/vlse
such other guarantee or security shall remain the property of the Bank.

6. Bank's Set-off:

(1) ln addition to any other right which the Bank may have hereunder at law or in
equity, if any of the circumstances of insolvency (as defined in this Clause) shall
occur, or if any liability of the Guarantor under this continuing Guarantee shall
become due and owing for any reason, then the Bank upon issuing a demand
notice to the Guarantor and such demand is not honoured thirty (30) days after
the date of the demand, may apply against the liability of the undersigned under
this continuing Guarantee any or all present and future credit balances of the
Guarantor in whatever currency or currencies as may be held by the Bank, its
branches or subsidiaries and in addition, the Bank may so apply any other
present or future claim of the Guarantor against the Bank, its branches or
subsidiaries The term "Circumstances or lnso|vency" as used in this instrument
shall mean any situation in which the Borrower shall make an assignment for the
benefit of creditors or shall make a composition for the benefit of creditors or
shall be the subject of any proceeding or petition with a view to its being wound
up (provided howeverl that where involuntary, such proceeding or petition shall
be covered by this Clause only if it shall remain undismissed for thirty (30) days
or be consented to by the Borrower); or any order shall be made for winding up
the Borrower, or a petition, shall be approved in any of the foregoing proceedings
or their equivalences in any jurisdiction.

(2) The Bank shall so long as any moneys or liabilities due or incurred by or from the
Borrower to the Bank remain unpaid or undischarged have a lien or a right of set-
off therefore on all moneys now or hereafter standing to the credit of or assets
now or hereafter lodged with or under the control of the Bank by the Guarantor‘
whether any current or other account.

7. Certain Rights of Guarantor Subordinated or held in Trust:

(1) Until all moneys and liabilities due or incurred by or from the Borrower to the
Bank shall have been paid or discharged, the Guarantor shall not, by paying off
any sum recoverable hereunder or by any other means or on any other ground,
claim any set-off or counterclaim against the Borrower in respect of any liability
on the part of the Guarantor to the Borrower or claim or prove in competition with
the Bank in respect of any payment by the Guarantor hereunder or be entitled to
claim or have the benefit of any set-off, counterclaim or proof against or dividend,
composition or payment by the Borrower or its estate or in the liquidation of the
Borrower or the benefit of any other security which the Bank may now or
hereafter hold for any moneys or liabilities due or incurred by the Borrower to the
Bank or to have any share therein.

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(2) Any security now or hereafter held by or for the Guarantor from the Borrower in
respect of the liability of the Guarantor hereunder shall be held in trust for the
Bank and as security for the liability of the Guarantor hereunder and shall
forthwith be deposited by the Guarantor with the Bank for that purpose.

8. Bank may open New and Suspend Accounts:

(1) |n the event of this Guarantee ceasing for any cause whatsoever to be binding as
a continuing security on the Guarantor or its successors in title, the Bank shall be
at liberty without thereby affecting its rights hereunder to open a fresh account or
accounts and to continue any then existing accounts with the Borrower and no
moneys paid into any such fresh account or accounts with the Borrower and no
moneys paid into any such fresh account or accounts by or on behalf of the
Borrower and subsequently drawn out shall on settlement of any claim in respect
of this Guarantee be appropriated towards or have the effect of payment of a part
of the moneys due from the Borrower at the time of this guarantee ceasing to be
so binding or interest thereon unless the persons paying in such moneys shall at
the time in writing direct the Bank specially so to appropriate the same.

(2) Any money received hereunder may be placed and kept to the credit of a
suspense account for so long as the Bank reasonably thinks fit without any
obligation in the meantime to apply the same or any part thereof in or towards the
discharge of any moneys or liabilities due or incurred by or from the Borrower to
the Bank. Notwithstanding any such payment, in the event of any proceedings in
or analogous to liquidation, composition or arrangement, the Bank may prove for
and agree to accept any dividend or composition in respect of the whole or any
part of such moneys and liabilities in the same manner, as if this Guarantee had
not been given.

9. Government Actions Respecting Obligations and Security; Rescinded Payments;
Changes and Event of |nva|idity:

(1) No statute, regulation, decree, judicial finding or other governmental act which
purports for any reasons to amend, reduce or otherwise affect any of the
obligations shall affect, impair, or be a defence to, this continuing Guarantee or
the amounts due hereunder. lf, in connection with the occurrence of any of the
circumstances of insolvency as previously defined, or othen/vise, any payment to
the Bank on any of the obligations shall be rescinded or shall be required to be
restored or returned by it, this continuing guarantee shall continue in effect and
immediately re-attach or be re-instated, as though such payment to the Bank had
not been made.

(2) This continuing Guarantee shall be binding on the Guarantor and its successors
and assigns notwithstanding any change in the name, style or constitution of the
Borrower or any liquidation, absorption, amalgamation or reconstruction of the
Borrower and notwithstanding that the borrowing or incurring of any of the

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obligations may be invalid or in excess of the powers of the Borrower or of any
director, attorney, agent or other persons purporting to borrow or act on behalf of
the Borrower and notwithstanding any other irregularity in such borrowing or
incurring the obligations

No Waiver of Bank's Right:

No failure on the part of the Bank to exercise, and no delay in exercising any right,
remedy, power or privilege under the obligations or under this continuing Guarantee
shall operate as a waiver thereof and no single or partial exercise of any such right,
remedy, power or privilege shall preclude any other or further exercise of any right,
remedy, power or privilege. No waiver whatever shall be valid unless in writing signed
by the parties and then only to the extent specifically set-forth in such writing.

Notices, Demands and Certificates:

(1) Any notice or other demand required to be given by the Bank hereunder may be
given or made by delivering or leaving the same or sending it by fax or an
internationally recognized courier addressed to the Guarantor at its last known
place of business and a notice or demand so given or made shall be deemed to
be given or made on the day it was so left (supported by valid proof of delivery
and receipt by the Borrower) or fourteen (14) ordinary days following that on
which it was posted, as the case may be.

(2) A certificate by an officer of the Bank as to the moneys and liabilities for the time
being due and payable to the Bank from or by the Borrower shall be conclusive
evidence (albeit rebuttable) in any legal proceedings against the Guarantor or it’s
successors in title.

Succession and Transfer:

This continuing Guarantee shall bind the Guarantor and its successors and assigns and
shall enure for the benefit of the Bank and its successors and assigns; provided that no
assignment of any of the Guarantor's obligations hereunder shall be valid without the
prior written consent of the Bank.

|nterpretation of SecuritylAccount:

|n this Guarantee, where the context allows the expression "security" shall be deemed
to include a judgment, specialty, guarantee, indemnity, negotiable and other instruments
and securities of every kind.

The expression "the account" shall include any account of the Guarantor with the bank
and whether current deposit loan savings or of any other nature whatsoever and at any
branch of the bank and the Guarantor further authorises the bank at its discretion to
combine any two or more accounts in the event of default by the borrower.

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14. Law to App|y:

This continuing Guarantee is made under and shall be construed in accordance with and
governed by the laws of the Federal Repub|ic of Nigeria.

15. Jurisdiction for Proceedings:

The undersigned agrees that an action to enforce this continuing Guarantee may be (but
is not required to be) brought in any court of competent jurisdiction in the Federal
Repub|ic of Nigeria. Nothing herein contained shall affect the right of the Bank to bring

any suit or proceeding in any other jurisdiction in addition to or in lieu of such action as is
referred to in this Clause

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CAMAC ENERGY lNC.

was affixed hereunto in the presence of: ‘/,,
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AUTHOR|ZED OFF|CER SECRETA Y V
State of Texas §
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County of Harris §

This instrument was acknowledged before me on September 11, 2014 by Earl W. McNei|,
Senior Vice President and Chief Financia| Officer and by Nicolas J. Evanoff, Senior Vice

President, Genera| Counse| and Secretary, both of CAMAC Energy |nc., a De|aware
corporation, on behalf of said corporation.

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NotaiW/Public Signiture

 

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